      Case 3:98-cv-02150-JLS-NLS Document 1231 Filed 08/07/07 PageID.23956 Page 1 of 1
AO 450 Judgment in a Civil Case




                            United States District Court
                                     SOUTHERN DISTRICT OF CALIFORNIA


 In Re Alliance Equipment Leasing Program
                        V.                                           JUDGMENT IN A CIVIL CASE


                                                           CASE NUMBER:          98cv2150 J (NLS)


               Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
               and the jury has rendered its verdict.



       X       Decision by Court. This action came to trial or hearing before the Court. The issues have been
               tried or heard and a decision has been rendered.


      IT IS ORDERED AND ADJUDGED
      that Plaintiffs’ Motion for Summary Judgment is granted. Judgment shall be entered against each
      Defendant Class member listed in Column 1 and in favor of the corresponding Investor/Plaintiff Class
      member in Column 2 to whom each Defendant Class member sold an interest in the Alliance Lease
      Program, for the total net remaining damages, set forth in Column 4, plus interest thereon, stated in
      Column 5 of the Supplemental Appendix, for violation of Section 12(a)(1) of the Securities Act of 1933.




                 August 7, 2007                                        W. Samuel Hamrick, Jr.
                        Date                                                     Clerk

                                                      s/ A. Everill
                                                      (By) Deputy Clerk
                                                      ENTERED ON August 7, 2007




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